                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


 TAYLOR LOHMEYER LAW FIRM PLLC          )
                                        )            Case No. 5:18-cv-01161-XR
 Petitioner,                            )
                                        )
 v.                                     )
                                        )
 UNITED STATES OF AMERICA               )
                                        )
 Respondent/Petitioner,                 )
                                        )
 v.                                     )
                                        )
 TAYLOR LOHMEYER LAW FIRM PLLC          )
                                        )
 Respondent.                            )
 _______________________________________)

                                          ORDER

       Before the Court is the United States’ Unopposed Motion to Reopen Case, Lift Stay and

Order Production of Documents. There being no objection, the Court GRANTS the unopposed

motion. This clerk is ORDERED to administratively re-open the case, the stay imposed by the

Court’s Order of October 3, 2019 is LIFTED, and Taylor Lohmeyer Law Firm, PLLC is

Ordered to comply with the IRS summons at issue by January 3, 2022.



       SIGNED this _______ day of December, 2021




                                           XAVIER RODRIGUEZ
                                           UNITED STATES DISTRICT JUDGE
